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                       UNITED STATES DISTRICT COURT

           DISTRICT OF MASSACHUSETTS - WESTERN DIVISION



                                                Civil Action No: 3:17cv30031




   JANETTE HERNANDEZ PAGAN, PPA

   F.H., a minor,

   Plaintiff

   v.

   CITY OF HOLYOKE, A MUNICIPAL CORPORATION,

   Officer THOMAS J. LEAHY, Officer JAMES DUNN,

   Officer JABET LOPEZ,

   Defendants




                          DEFENDANTS’ EXHIBIT LIST



1. Exhibit 1–REDACTED COMPLAINT AND REQUEST FOR TRIAL BY JURY;

2. Exhibit 2--FTH (redacted) deposition pp: 1, 2, 8-13, 15-20, 22-24;

3. Exhibit 3—Leahy deposition pp: 1, 2, 13-21, 23, 24, 26-28, 45-48, 55-58, 69, 88-89;

4. Exhibit 4—Dunn deposition pp: 1, 2, 27, 46, 47, 49-51, 54, 57, 59-63;

5. Exhibit 5—Lopez deposition pp: 1, 2, 45, 48-50, 61-63;



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   6. Exhibit 6—Neiswanger deposition pp: 1, 2, 42-44, 56, 57, 63, 64;

   7. Exhibit 7—(redacted) AMR report case # 973037, narrative 9730937;

   8. Exhibit 8—(redacted) Lopez Use of Force Report Arrest # 14-344;

   9. Exhibit 9—(redacted) Lopez Supplemental Narrative Report Ref-14-344-AR;

   10. Exhibit 10—(redacted) Holyoke Police Department Arrest Report no. 14-344-AR;

   11. Exhibit 11-- Holyoke Police Department Standard Operating Procedures 2012 Use of

       Force Policy 8.2.0 & 8.2.1;

   12. Exhibit 12—Affidavit Manuel Reyes;

   13. Exhibit 13—(redacted) Leahy Narrative Report Ref-14-344-AR;

   14. Exhibit 14—(redacted) Dunn Supplemental Narrative Report Ref- 14-344-AR;

   15. Exhibit 15—(redacted) HPD booking photos;

   16. Exhibit 16—(redacted) Holyoke Medical Center Record 02/08/2014;

   17. Exhibit 17—(redacted) Baystate Medical Center 02/09/14 Emergency Medicine Notes;

   18. Exhibit 18—(redacted) MGL258 presentment letter




Respectfully submitted:

 /s/ Charles J. Emma,
Charles J. Emma BBO # 542126
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Dated: July 20, 2018
Counsel for the Defendants City of Holyoke, A Municipal Corporation,
Officer Thomas J. Leahy and Officer James Dunn

Officer Jabet Lopez by:
/s/Austin M. Joyce
Austin M. Joyce, Esquire BBO #255040

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                                  CERTIFICATE OF SERVICE
                              (For DEFENDANTS’ EXHIBIT LIST)




I, Charles J. Emma, do hereby certify that on July 20 I served DEFENDANTS’ EXHIBIT LIST

by filing through the ECF system and notice will be sent electronically to the registered

participants as identified on the notice of electronic filing (NEF).




_/s/ Charles J. Emma, Counsel for the Defendants
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413-297-6367 CharlesEmmaLaw@gmail.com
Dated: 7-20-18




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